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      In the United States Court of Federal Claims
                              No. 18-1877C
                       (Filed: September 15, 2020)

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C.C. PACE SYSTEMS, INC.,

                    Plaintiff,

v.

THE UNITED STATES,

                    Defendant.

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                                 ORDER


       Pursuant the stipulation of the parties filed on September 8, 2020
(ECF No. 47), this case is hereby dismissed. The Clerk of Court is directed
to dismiss the Complaint and enter judgment accordingly.



                                        s/Eric G. Bruggink
                                        ERIC G. BRUGGINK
                                        Senior Judge
